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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


SHANNON PHILLIPS,                            :
                                             :
              Plaintiff,                     :     Civil Action No. 1:19-cv-19432
                                             :
      v.                                     :
                                                   Hon. Joel H. Slomsky, U.S.D.J.
                                             :
STARBUCKS CORPORATION d/b/a                  :
STARBUCKS COFFEE COMPANY,                    :     FILED VIA ECF
                                             :
              Defendant.
                                             :

                            WITHDRAWAL OF APPEARANCE

        Kindly withdraw the appearance of Hannah M. Lindgren on behalf of Defendant Starbucks

 Corporation d/b/a Starbucks Coffee Company in the above matter.


 Dated: July 18, 2023                            Respectfully submitted,



                                                 /s/ Hannah M. Lindgren
                                                 Hannah M. Lindgren, Bar No. 326049
                                                 hlindgren@littler.com

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                                  CERTIFICATE OF SERVICE

        I, Hannah M. Lindgren, hereby certify that on this 18th day of July 2023, I filed the foregoing

 document using the United States District Court for the District of New Jersey ECF system, through

 which this document is available for viewing and downloading, causing a notice of electronic filing to

 be served upon all counsel of record.



                                                              /s/ Hannah M. Lindgren
                                                                Hannah M. Lindgren
